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            4
                Attorney for Defendant
            5
                DUANE ALLEN EDDINGS
            6
            7
            8                          IN THE UNITED STATES DISTRICT COURT

            9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

           10                                    SACRAMENTO DIVISION

           11
           12   UNITED STATES OF AMERICA,                   )   Case No. CR S 09 0074 JAM
                                                            )
           13                            Plaintiff,         )   STIPULATION AND [PROPOSED]
                                                            )   ORDER TO CONTINUE STATUS
           14         vs.                                   )   CONFERENCE
                                                            )
           15   DUANE ALLEN EDDINGS,                        )   DATE: March 1, 2011
                                                            )   TIME: 9:30 a.m.
           16                            Defendant.         )   CTRM. Honorable John A. Mendez
                                                            )
           17                                               )

           18          It is hereby stipulated and agreed to between plaintiff, UNITED STATES OF
           19   AMERICA, through its counsel of record, Matthew C. Stegman, Assistant United States
           20   Attorney, defendant DUANE ALLEN EDDINGS, through his counsel of record, Joseph
           21   J. Wiseman, that the status conference scheduled for March 1, 2011, at 9:30 a.m., be
           22   rescheduled to April 19, 2011, 9:30 a.m.
           23          The parties further stipulate and agree that a continuance is appropriate in this
           24   case and request that the time beginning March 1, 2011, and extending through April
           25   19, 2011, be ordered excluded from the calculation of time under the Speedy Trial Act.
           26   The ends of justice will be served by the Court excluding such time, so that counsel for
           27   the Defendant may have reasonable time necessary for effective preparation, taking
           28   into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7).


                STIPULATION AND ORDER TO CONTINUE STATUS                                   CR S 09-0074 JAM
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            1          The defendant and his counsel of record need additional time to review and
            2   consider additional information relating to the government’s intent to supersede the
            3   present indictment and charge the defendant with additional crimes. Specifically, the
            4   government has provided defendant’s counsel with additional discovery relating to the
            5   defendant’s activities, which the government alleges constitute bankruptcy fraud.
            6   Defendant’s counsel needs additional time to review this material with the defendant
            7   before setting this case for trial.
            8          The parties submit that the interests of justice served by granting this
            9   continuance outweigh the best interests of the public and the defendant in a speedy
           10   trial. 18 U.S.C. § 3161(h)(7).
           11   Dated: February 28, 2011                   Respectfully submitted,
           12                                              JOSEPH J. WISEMAN, P. C.
           13                                              By:    /s/ Joseph J. Wiseman
                                                              JOSEPH J. WISEMAN
           14                                                 Attorney for Defendant,
                                                              DUANE ALLEN EDDINGS
           15
           16
           17   Dated: January 27, 2011                    BENJAMIN B. WAGNER
                                                           United States Attorney
           18
           19                                              By:    /s/ Matthew C. Stegman
                                                              MATTHEW C. STEGMAN, AUSA
           20                                                 Attorney for Plaintiff
                                                              UNITED STATES OF AMERICA
           21
           22
           23
                                                           ORDER
           24
           25          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
           26   status hearing in the above-captioned case be continued to April 19, 2011, at 9:30 a.m.
           27   IT IS FURTHER ORDERED THAT the time from the date of this Order to April 19,
           28   2011, be excluded pursuant to 18 U.S.C. §§ 3161(h)(7) (ends of justice are served by


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            1   granting the continuance outweigh the best interest of the public and the defendant in a
            2   speedy trial) and Local Rule T4.
            3
            4   Dated: 2/28/2011                            /s/ John A. Mendez___________
                                                            HONORABLE JOHN A. MENDEZ
            5                                               UNITED STATES DISTRICT JUDGE
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